

Scopia Windmill LP v Olshan Frome Wolosky LLP (2022 NY Slip Op 03996)





Scopia Windmill LP v Olshan Frome Wolosky LLP


2022 NY Slip Op 03996


Decided on June 21, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 21, 2022

Before: Gische, J.P., Friedman, González, Rodriguez, Pitt, JJ. 


Index No. 650616/16 Appeal No. 16162 Case No. 2022-00876 

[*1]Scopia Windmill LP, et al., Plaintiffs-Respondents,
vOlshan Frome Wolosky LLP, Defendant-Appellant.


Olshan Frome Wolosky LLP, New York (Peter M. Sartorius of counsel), for appellant.
The Law Offices of Thomas C. Moore, Bronxville (Thomas C. Moore of counsel), for respondents.



Order, Supreme Court, New York County (Andrea Masley, J.), entered February 1, 2022, which denied defendant's motion for summary judgment dismissing the legal malpractice claim, unanimously affirmed, with costs.
Plaintiffs assert a legal malpractice claim alleging that defendant law firm was negligent in failing to perfect a security interest by timely filing a UCC-1 financing statement in connection with a loan they made. Contrary to defendant's contention, the allegations underlying the claim are not "couched in terms of gross speculations on future events" (see Phillips-Smith Specialty Retail Group II v Parker Chapin Flattau &amp; Klimpl, 265 AD2d 208 [1st Dept 1999], lv denied 94 NY2d 759 [2000]). To the contrary, supported by plausible expert opinion, they depict a hypothetical course of events flowing from the failure to file that caused plaintiffs ascertainable damage that would not have occurred had the lien been timely filed, thereby raising an issue of fact sufficient to defeat summary dismissal of the claim (see e.g. A&amp;L Vil. Mkt., Inc. v 344 Vil., Inc., 170 AD3d 1095 [2d Dept 2019]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 21, 2022








